                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                      5:23-CR-00165-M-1

  UNITED STATES OF AMERICA,

          Plaintiff,

  V.                                                                  ORDER

  KOJO OWUSU DARTEY,

          Defendant.


       This matter comes before the court on Defendant's motion to seal Docket Entry 115 [DE

116]. Pursuant to Local Criminal Rule 55.2 and based on information set forth in the proposed

sealed document, the motion is GRANTED. The Clerk of the Court shall maintain under seal the

document at DE 115 until further order of the court.



       SO ORDERED this - ~- - - day of April, 2024.




                                           /a l [ fV7 ,..,,.,,r
                                            RICHARD E. MYERS II
                                                                                 ~
                                            CHIEF UNITED STATES DISTRICT JUDGE




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